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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                    HARRISONBURG DIVISION

IN RE:
                                                                       CHAPTER 13
REBEKAH S DANIELS                                                      CASE NO. 22-50021


                           Debtor

          TRUSTEE’S OBJECTION TO CONFIRMATION, MOTION TO DISMISS OR CONVERT,
                  AND REQUEST FOR DOCUMENTS AND AMENDMENTS

         COMES NOW the Chapter 13 Trustee, and (i) submits this request for documents and
amendments from the Debtor(s) following the meeting of creditors, and (ii) objects to confirmation of the
Plan filed on 2/21/22 and (iii) moves to dismiss or convert this case unless all of the objections and
requests for documents and amendments have been resolved prior to the hearing. The hearing on the
Trustee’s objection to confirmation and motion to dismiss or convert shall be held on:

                                            April 14, 2022 at 9:30 a.m.

                          Parties should contact Judge Connelly's courtroom deputies at
                                VAWBml_Connelly_Scheduling@vawb.uscourts.gov
                         to obtain video access instructions and Zoom access information

1. The Trustee requests the Debtor to provide the following documents, or file with the Court the
   following amendments and pleadings, at least ten (10) days before the hearing noticed herein, to
   assist in resolving the Trustee’s objections:
    Documents - Assets
      - Proof that an automatic payment process for future mortgage payments has been put into
         place. Arrears are: $13,282
    Documents - Income
      - Please provide documentation of the following to the trustee for review: -- $1,500/mo for
         mother's home health care
      - A copy of the Debtor's most recently filed federal income tax return pursuant to 11 U.S.C.
         Section 521(e)(2), or provide the Trustee with an affidavit that the Debtor(s) do not need to file
         taxes for such year. 2021.
    Documents - Other
      - File a pre-confirmation affidavit from Debtor(s), or other appropriate evidence to satisfy matters
         addressed in the affidavit.
    Pleadings
      - Submit a wage order or establish automatic and recurring TFS account for plan payments.
2. The Trustee objects to confirmation of the plan and requests that the Plan be amended to address
   the following issues:
    Amend Plan or Suggest Confirmation Order Language
      - Amend the plan to provide for the priority claim #1, or object to the claim, filed by IRS for
         $20,345.41 (UNFILED 2013, 2015, 2016, 2017, 2019, 2020, 2021)
      - Amend the plan to clarify that the chapter 7 test figure in Part 5.1 is $6,378.
    Objections
      - The Plan does not meet the Chapter 7 liquidation test pursuant to 11 U.S.C. Section 1325(a)(4).
         Trustee to reveiw tax refund for 2021.
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      - The Debtor fails to provide that all of the disposable income in the commitment period will be
        applied to plan payments pursuant to 11 U.S.C. Section 1325(b)(1)(B). Trustee to review proof
        of expenses.
      - The Debtor has not filed all applicable Federal, State, and local tax returns pursuant to 11
        U.S.C. Section 1308 and 1325(a)(9). Years not filed: 2015-2021.

3. The Trustee prays that any confirmation order entered in this case shall include the following other
   provisions:

      -

4. The Trustee shall ask for dismissal or conversion of the case if the Debtor does not timely
   commence making Plan payments at the rate and in the amounts stated in their Plan. If the Plan
   calls for payments through an automatic wage deduction from an employer, the Debtor must make
   payments directly to the Trustee until the wage deduction takes effect.

      WHEREFORE, your Trustee requests that the Court dismiss or convert this case if the Debtor(s)
fail to do any of the following: (i) resolve the objections noticed herein, (ii) provide the requested
modifications, documents, amendments, and/or actions; (iii) appear at the original or adjourned Meeting
of Creditors; (iv) remain current in Plan payments; or (v) file a confirmable Plan.



Dated: March 08, 2022                                              /s/ ANGELA SCOLFORO
                                                                   Angela Scolforo
                                                                   Attorney for the Chapter 13 Trustee
                                                                   P.O. Box 2103
                                                                   Charlottesville, VA 22902
                                                                   Ph: 434-817-9913
                                                                   Email: ch13staff@cvillech13.net


                                     CERTIFICATE OF SERVICE

       I certify that a true copy of this Trustee's Request for Documents and Amendments, Objection to
Confirmation, and Motion to Dismiss or Convert was served by first class mail, postage paid, upon the
Debtor and served electronically upon the Debtor's counsel on March 08, 2022.


                                                                   /s/ ANGELA SCOLFORO
                                                                   Angela Scolforo
                                                                   Attorney for the Chapter 13 Trustee
                                                                   P.O. Box 2103
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